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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                      GENERAL ORDER

ORDER signed by the Honorable Virginia M. Kendall. In view of the current situation regarding
COVID‐19, the Court encourages counsel with motion or status hearings set over the next few
weeks to (a) file a joint status report if they believe that the motion and/or status can be
handled without an appearance simply by providing the Court with an update on the progress
of the case or an indication that the relief requested in the motion either is unopposed or can
be addressed with an agreed briefing schedule or (b) make arrangements to appear by
telephone for all motions and status hearings that cannot be handled without an appearance. If
you would like to appear by telephone for any hearing or status conference, please contact the
Courtroom Deputy, Lynn Kandziora, preferably by email (Lynn_Kandziora@ilnd.uscourts.gov) or
by telephone (312) 408‐5153, if necessary, to advise her of the case number and the name of
the person who is expecting to participate. We will open the phone lines shortly before the
start time every day that court is in session. Please use the Court's toll‐free call‐in number 877‐
848‐7030, conference access code is 2413900. Given the increased volume of users that is
anticipated, we ask that you keep your phone on mute until your case is called.




Date: March 13, 2020                                         _________________________
                                                             Virginia M. Kendall
                                                             United States District Judge
